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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Jacob K. Javits Federal Building
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     February 26, 2024

By ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, et. al,
               S2 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully submits the enclosed proposed protective order for the
Court’s consideration, which concerns the Government’s anticipated production of certain
classified information to the defendants pursuant to Section 3 of the Classified Information
Procedures Act (“CIPA”). The Government circulated the proposed protective order to the
defendants on February 9, 2024, but has not received a response.

        The Government cannot produce classified information to cleared counsel until there is a
protective order in place governing classified materials, as provided for by Section 3 of CIPA, see
18 U.S.C. App. 3 § 3 (“[u]pon motion of the United States, the court shall issue an order to protect
against the disclosure of any classified information disclosed by the United States to any defendant
in any criminal case”). To the extent the defendants have any objections to the proposed protective
order, the Government requests the opportunity to respond.
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Honorable Sidney H. Stein
February 26, 2024
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                                           Respectfully submitted,

                                           DAMIAN WILLIAMS
                                           United States Attorney

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Enclosure

cc:   (by ECF)

      Counsel of Record
